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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:18-CR-00246 DAD-BAM
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT
13                          v.                           REGARDING DEFENDANT SADOL DIAZ; AND
                                                         ORDER
14   RUBEN CORTEZ-ROCHA,
     JOSE LOZANO,                                        CURRENT DATE: October 14, 2020
15    aka “Junior”                                       TIME: 1:00 p.m.
     SADOL DIAZ-BELTRAN, and                             COURT: Hon. Barbara A. McAuliffe
16   RICARDO ZEPEDA-NAVARRO
17                                Defendants.
18

19                                               STIPULATION

20          This case is set for status conference on October 14, 2020. On May 13, 2020, this Court issued

21 General Order 618, which suspends all jury trials in the Eastern District of California until further

22 notice, and allows district judges to continue all criminal matters. This and previous General Orders

23 were entered to address public health concerns related to COVID-19.

24          Although the General Orders address the district-wide health concern, the Supreme Court has

25 emphasized that the Speedy Trial Act’s end-of-justice provision “counteract[s] substantive

26 openendedness with procedural strictness,” “demand[ing] on-the-record findings” in a particular case.
27 Zedner v. United States, 547 U.S. 489, 509 (2006). “[W]ithout on-the-record findings, there can be no

28 exclusion under” § 3161(h)(7)(A). Id. at 507. Moreover, any such failure cannot be harmless. Id. at

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 1 509; see also United States v. Ramirez-Cortez, 213 F.3d 1149, 1153 (9th Cir. 2000) (explaining that a

 2 judge ordering an ends-of-justice continuance must set forth explicit findings on the record “either orally

 3 or in writing”).

 4          Based on the plain text of the Speedy Trial Act—which Zedner emphasizes as both mandatory

 5 and inexcusable—General Orders 611, 612, 617, and 618 require specific supplementation. Ends-of-

 6 justice continuances are excludable only if “the judge granted such continuance on the basis of his

 7 findings that the ends of justice served by taking such action outweigh the best interest of the public and

 8 the defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A). Moreover, no such period is excludable

 9 unless “the court sets forth, in the record of the case, either orally or in writing, its reason or finding that
10 the ends of justice served by the granting of such continuance outweigh the best interests of the public

11 and the defendant in a speedy trial.” Id.

12          The General Orders exclude delay in the “ends of justice.” 18 U.S.C. § 3161(h)(7) (Local Code

13 T4). Although the Speedy Trial Act does not directly address continuances stemming from pandemics,

14 natural disasters, or other emergencies, this Court has discretion to order a continuance in such

15 circumstances. For example, the Ninth Circuit affirmed a two-week ends-of-justice continuance

16 following Mt. St. Helens’ eruption. Furlow v. United States, 644 F.2d 764 (9th Cir. 1981). The court

17 recognized that the eruption made it impossible for the trial to proceed. Id. at 767-68; see also United

18 States v. Correa, 182 F. Supp. 326, 329 (S.D.N.Y. 2001) (citing Furlow to exclude time following the

19 September 11, 2001 terrorist attacks and the resultant public emergency). The coronavirus is posing a

20 similar, albeit more enduring, barrier to the prompt proceedings mandated by the statutory rules.
21          In light of the societal context created by the foregoing, this Court should consider the following

22 case-specific facts in finding excludable delay appropriate in this particular case under the ends-of-

23 justice exception, § 3161(h)(7) (Local Code T4). 1 If continued, this Court should designate a new date

24 for the status conference. United States v. Lewis, 611 F.3d 1172, 1176 (9th Cir. 2010) (noting any

25 pretrial continuance must be “specifically limited in time”).

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27
            1
            The parties note that General Order 612 acknowledges that a district judge may make
28 “additional findings to support the exclusion” at the judge’s discretion. General Order 612, ¶ 5 (E.D.
   Cal. March 18, 2020).
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 1                                                 STIPULATION

 2          Plaintiff United States of America, by and through its counsel of record, and defendant SADOL

 3 DIAZ, by and through defendant’s counsel of record, Roger Wilson, hereby stipulate as follows:

 4          1.      By previous order, this matter was set for status on October 14, 2020.

 5          2.      By this stipulation, defendants now move to continue the status conference until January

 6 27, 2021, and to exclude time between October 14, 2020, and January 27, 2021, under Local Code T4.

 7          3.      While the parties anticipate that the case will resolve without a trial, this is not yet a

 8 certainty. If defendant ultimately does not enter a guilty plea and decides to proceed to trial, the parties

 9 agree and stipulate, and request that the Court find the following:
10                  a)      The government has represented that the discovery associated with this case

11          includes over 100 pages of reports and photographs, as well as over 40 audio recordings, many

12          of which are in a foreign language. This discovery has been produced directly to counsel.

13                  b)      Counsel for defendant desires additional time to consult with his client, to review

14          the current charges, to conduct investigation and research related to the charges, to review and

15          copy discovery for this matter, to discuss potential resolutions with his client, to prepare pretrial

16          motions, and to otherwise prepare for trial.

17                  c)      Counsel for defendant believes that failure to grant the above-requested

18          continuance would deny them the reasonable time necessary for effective preparation, taking into

19          account the exercise of due diligence.

20                  d)      The government does not object to the continuance.

21                  e)      Based on the above-stated findings, the ends of justice served by continuing the

22          case as requested outweigh the interest of the public and the defendant in a trial within the

23          original date prescribed by the Speedy Trial Act.

24                  f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

25          et seq., within which trial must commence, the time period of October 14, 2020 to January 27,

26          2021, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

27          T4], because it results from a continuance granted by the Court at defendant’s request on the

28          basis of the Court’s finding that the ends of justice served by taking such action outweigh the

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 1          best interest of the public and the defendant in a speedy trial.

 2          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

 3 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 4 must commence.

 5          IT IS SO STIPULATED.

 6
     Dated: October 6, 2020                                   MCGREGOR W. SCOTT
 7                                                            United States Attorney
 8
                                                              /s/ ANGELA SCOTT
 9                                                            ANGELA SCOTT
                                                              Assistant United States Attorney
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11

12   Dated: October 6, 2020
                                                              /s/ per email authorization
13                                                            ROGER WILSON
                                                              Counsel for Defendant
14                                                            SADOL DIAZ-BELTRAN
15

16
                                                      ORDER
17

18          IT IS SO ORDERED that the Status Conference is continued from October 26, 2020 to January

19 27, 2021, at 1:00 p.m. before Magistrate Judge Barbara A. McAuliffe. Time is excluded pursuant to

20 18 U.S.C.§ 3161(h)(7)(A), B(iv).
21

22
     IT IS SO ORDERED.
23

24      Dated:    October 7, 2020                               /s/ Barbara A. McAuliffe            _
                                                        UNITED STATES MAGISTRATE JUDGE
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      STIPULATION REGARDING EXCLUDABLE TIME               4
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